Case 1:13-cr-00473-RM Document 147 Filed 08/17/15 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore

Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

               Plaintiff,

v.

GARY SNISKY,

               Defendant.


              FINAL ORDER OF FORFEITURE FOR SUBSTITUTE ASSET


       THIS MATTER comes before the Court on the United States' Motion for Final Order of

Forfeiture for Substitute Asset. The Court having reviewed said Motion FINDS:

       THAT the United States commenced this action pursuant to 18 U.S.C. § 981(a)(1)(C)

and 28 U.S.C. § 2461(c), as set forth in the Indictment returned on November 19, 2013;

       THAT a Forfeiture Money Judgment and Preliminary Order of Forfeiture of Substitute

Asset was entered on June 2, 2015, forfeiting defendant Gary Snisky’s interest in the $45,000.00

in United States currency, as a substitute asset;

       THAT all known interested parties were provided an opportunity to respond and that

publication has been effected as required by 21 U.S.C. § 853(n);

       THAT no Petition for Ancillary Hearing has been filed as to the subject property, and the

time for doing so has expired;




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Case 1:13-cr-00473-RM Document 147 Filed 08/17/15 USDC Colorado Page 2 of 2




       THAT it further appears there is cause to issue a forfeiture order under 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c).

       NOW, THEREFORE, IT IS ORDERED, DECREED, AND ADJUDGED:

       THAT judgment of forfeiture of the substitute asset described above shall enter in favor

of the United States pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), free from the

claims of any other party;

       THAT the United States shall have full and legal title to the forfeited substitute asset; and

       THAT the substitute asset shall be applied to defendant’s Forfeiture Money Judgment.

       DATED this 17th day of August, 2015.

                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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